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                        IN T H EU N I T E D S T A T E S D I S T R I C T C O U R T
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                        DALLAS DIVISION


JAIME SANCHEZ,                                      §
                                                    §
        Plaintiff,                                  §
                                                    §
v.                                                  §        C I V I L A C T I O N NO.
                                                    §
ALLSTATE TEXAS LLOYDS,                              §
                                                    §
        Defendant.                                  §


            DEFENDANT ALLSTATE TEXAS LLOYDS' NOTICE OF REMOVAL




TO T H E H O N O R A B L E COURT:

        Pursuant to 28 U.S.C. §§ 1441 and 1446, Defendant Allstate Texas Lloyds i n Cause No.

DC-15-14942, pending i n the 116th Judicial District Court o f Dallas County, Texas, files this

Notice o f Removal f r o m that court to the United States District Court for the Northern District o f

Texas, Dallas Division, on the basis o f diversity o f citizenship and amount i n controversy and

respectfully shows:

                                                   I.
                                   FACTUAL BACKGROUND


        1.1    On or about December 10, 2015, Plaintiff filed Plaintiffs Original Petition i n the

matter styled Jaime Sanchez    v. Allstate   Texas Lloyds,   Cause N o . DC-15-14942, pending i n the

116th Judicial District Court o f Dallas County, Texas, i n w h i c h Plaintiff made a claim for

damages to his home under a homeowner's insurance policy w i t h Allstate Texas Lloyds.

        1.2    Plaintiff served Defendant Allstate Texas Lloyds ("Allstate") w i t h P l a i n t i f f s

Original Petition and process on December 18, 2015, by process server on through its registered

agent, CT Corporation System.


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        1.3      Simultaneously with the filing o f this notice o f removal, attached hereto as Exhibit

" A " is the Index o f State Court Documents that clearly identifies each document and indicates

the date the document was filed i n state court. Attached as Exhibit " B " is a copy o f the docket

sheet and all documents filed i n the state court action are attached as Exhibits " B - l " through

Exhibit " B - 6 " as identified on the Index o f Documents.

                                                      II.
                                           BASIS F O R R E M O V A L


        2.1      Defendant files this notice o f removal within 30 days o f receiving P l a i n t i f f s

Original Petition. See 28 U.S.C. § 1446(b). This Notice o f Removal is being filed within one

year o f the commencement o f this action. See id.

        2.2      Removal is proper based upon diversity o f citizenship under                    28 U.S.C.

§§ 1332(a)(1), 1441(a), and 1446.

        A.       T H E PARTIES A R E O F D I V E R S E CITIZENSHIP.

        2.3      Plaintiff is, and was at the time the lawsuit was filed, a natural person and a

resident o f Dallas County i n the State o f Texas and thus, is a citizen o f Texas. See P l a i n t i f f s

Original Petition, f 3. On information and belief, Plaintiff intends to continue residing i n Texas

and is thus domiciled i n Texas. See Hollinger         v. Home State Mut. Ins. Co., 654 F.3d 564, 571

(5th Cir. 2011) (evidence o f a person's place o f residence is prima facie proof o f his state o f

domicile, which presumptively continues unless rebutted with sufficient evidence o f change).

        2.4      Defendant Allstate Texas Lloyd's was, and at the date o f this Notice, remains, an

association o f underwriters whose individual underwriters are all residents and citizens o f the

                                       1
State o f Illinois and N e w Jersey.       "The United States Supreme Court has consistently held for

over one hundred years that the citizenship o f an unincorporated association [such as Allstate] is

1
  See Royal Ins. Co. v. Quinn-L Capital Corp., 3 F.3d 877, 882-884 (5th Cir. 1993), cert, denied, 522 U.S. 815
(1997); see alsoMasseyv. State Farm Lloyds Ins. Co., 993 F. Supp. 568, 570 (S.D. Tex. 1998).
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determined . . . solely by the citizenship o f its members." See Massey                          v. State Farm Lloyds     Ins.

    Co., 993 F. Supp. 568, 570 (S.D. Tex. 1998); see also Gore v. Stenson,                          616 F. Supp. 895, 898-

    899 (S.D. Tex. 1984) (recognizing years o f Supreme Court precedent reaffirming the treatment

                                                                                   2
o f unincorporated associations for jurisdictional purposes).                           The individual underwriters o f

Allstate Texas Lloyd's and their citizenship are as follows: 1). Donald J. Bailey - N e w Jersey;

2). Teresa J. Dalenta - Illinois; 3). Kimberley M . Bartos - Illinois; 4). William G. H i l l - Illinois;

5). James W . Jonske - Illinois; 6). Katherine A . Mabe - Illinois; 7). Laurie Pellouchoud -

Illinois; 8). Richard J. Smith, Jr. - Illinois; 9). M y r o n E. Stouffer - Illinois; and 10.) Steven C.

Verney - Illinois. Accordingly, Allstate Texas Lloyd's is a citizen o f the States o f Illinois and

N e w Jersey. Allstate Texas Lloyd's is not a citizen o f the State o f Texas.

           B.       T H E A M O U N T IN C O N T R O V E R S Y E X C E E D S T H E J U R I S D I C T I O N A L
                    REQUIREMENTS FOR S U B J E C T M A T T E R JURISDICTION.


           2.5      I n determining the amount i n controversy, the court may consider "policy limits...

penalties, statutory damages, and punitive damages."                             St. Paul      Reinsurance       Co., Ltd. v.

Greenberg,       134 F.3d 1250, 1253 (5th Cir. 1998); see Ray v. State Farm Lloyds, No. CIV.A.3:98-

CV-1288-G, 1999 W L 151667, at * 2-3 (N.D. Tex. Mar. 10, 1999) (finding a sufficient amount

i n controversy i n p l a i n t i f f s case against their insurance company for breach o f contract, fraud,

negligence, gross negligence, bad faith, violations o f the Texas Insurance Code, violations o f the

Texas Deceptive Trade Practices Act, and mental anguish); Fairmont                               Travel, Inc. v. George    S.

May Lnt'l Co., 75 F. Supp.2d 666, 668 (S.D. Tex. 1999) (considering D T P A claims and the

potential for recovery o f punitive damages for the amount i n controversy determination); Chittick

v. Farmers       Lns. Exch,   844 F. Supp. 1153, 1155 (S.D. Tex. 1994) (finding a sufficient amount i n



2
 "Fifth Circuit jurisprudence is equally clear." See Massey, 993 F. Supp. at 570 (citing International Paper Co. v.
Denkmann Assoc., 116F.3d 134, 137 (5th Cir. 1997)).

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controversy after considering the nature o f the claims, the types o f damages sought and the

presumed net worth o f the defendant i n a claim brought by the insureds against their insurance

company for actual and punitive damages arising f r o m a claim they made for roof damages).

         2.6       This is a civil action i n which the amount i n controversy exceeds $75,000.00.

Plaintiff alleges that Defendant is liable under a residential insurance policy because Plaintiff

made a claim under that policy and Defendant wrongfully adjusted and denied P l a i n t i f f s claim.

         2.7      Plaintiff has specifically pled that he is seeking monetary relief over $100,000,

but not more than $200,000.            See P l a i n t i f f s Original Petition, | 7 0 .   This evidence clearly

demonstrates that the amount i n controversy i n this case exceeds the jurisdictional requirements.

                                                        III.
                        T H E R E M O V A L IS P R O C E D U R A L L Y          CORRECT


         3.1      Defendant Allstate was served w i t h P l a i n t i f f s Original Petition and process on

December 18, 2015. This notice o f removal is filed w i t h i n the 30-day time period required by 28

U.S.C. § 1446(b).

         3.2      Venue is proper i n this District and Division under 28 U.S.C. §1446(a) because


this District and Division include the county i n w h i c h the state action has been pending and

because a substantial part o f the events giving rise to P l a i n t i f f s claims allegedly occurred i n this

District and Division.

         3.3      Pursuant to 28 U.S.C. §1446(a), all pleadings, process, orders, and all other filings

i n the state court action are attached to this Notice.

         3.4      Pursuant to 28 U.S.C. § 1446(d), promptly after Defendant files this Notice,

written notice o f the f i l i n g w i l l be given to Plaintiff, the adverse party.




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        3.5     Pursuant to 28 U.S.C. §1446(d), a true and correct copy o f this Notice o f Removal

w i l l be filed w i t h the Clerk o f the Dallas County District Court, promptly after Defendant files

this Notice.

                                                 IV.
                                          CONCLUSION

       4.1     Based upon the foregoing, the exhibits submitted i n support o f this Removal and

other documents filed contemporaneously w i t h this Notice o f Removal and f u l l y incorporated

herein by reference, Defendant Allstate Texas Lloyds hereby removes hereby remove this case to

this Court for trial and determination.

                                           Respectfully submitted,

                                            /s/ Roger D. Higgins
                                                Roger D . Higgins
                                                State Bar No. 09601500, I L 6182756
                                                rhiggins@thompsoncoe.com
                                                Eric K . Bowers
                                                State Bar N o . 24045538
                                                ebowers@thompsoncoe.com
                                           THOMPSON, COE, COUSINS & IRONS, L.L.P.
                                           700 North Pearl Street, 25th Floor
                                           Dallas, Texas 75201
                                           Telephone:          (214) 871-8200
                                           Fax:                (214) 871-8209
                                           ATTORNEYS FOR D E F E N D A N T
                                           ALLSTATE TEXAS LLOYDS




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                                 CERTIFICATE OF SERVICE


      This is to certify that on January 19, 2016, a copy of this document was served to all
Counsel o f Record via electronic notice and/or certified mail, return receipt requested to:

               B i l l L . Voss
               Scott G. Hunziker
               James M . McClenny
               The Voss L a w Center
               26619 Interstate 45 South
               The Woodlands, Texas 77380

                                            I si Roger D. Higgins
                                               Roger D . Higgins




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